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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 IN RE:                                               )      Case No. 16-33218
                                                      )
 Alexander Bunn                                       )
 Michelle Bunn                                        )      Chapter 7
                                                      )
                Debtors                               )      Judge Guy R. Humphrey

     CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF REAL
                                     PROPERTY
     FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS
    PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), SURCHARGE AGREEMENT AND
                                 OTHER RELIEF

                       PLEASE READ THIS NOTICE CAREFULLY

        You are hereby notified that papers have been filed with the Court requesting an Order
 pursuant to the above referenced Motion, Application and/or Objection (hereinafter called the
 "Motion").

        Your rights may be affected. You should read these papers carefully and discuss
 them with your attorney, if you have one in this bankruptcy case. (If you do not have an
 attorney, you may wish to consult one.)

         If you do not want the court to grant the Motion, or if you want the Court to consider you
 views on the Motion, then on or before Twenty-One (21) days after the Date of Issuance set
 for below, you or your attorney must file a written response in accordance with the Court's local
 rules and filing procedures.

                The Clerk of Court's address is:

                U.S. Bankruptcy Court
                Clerk of Courts
                120 W. Third Street
                Dayton, Ohio 45402.

        You must file the response early enough so the Court will receive it on or before the
 deadline.

       You must also provide a copy of your response to Trustee Paul H. Spaeth at 7925
 Paragon Road, Suite 101, Dayton, Ohio 45459 or through the Court's ECF system.

 If you or your attorney do not take these steps, the court may decide that you do not oppose the
 relief sought in the motion or objection and may enter an order granting that relief.


 Date:    December 19, 2017                   Signature:
                                                      /s/ Paul H. Spaeth
                                                                                                    1
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                                              Name: Paul H. Spaeth
                                              Address:7925 Paragon Rd., Suite 101
                                                      Dayton, OH 45459


                                       MOTION


        Paul Spaeth, Chapter 7 Trustee (the “Trustee”) duly appointed Chapter 7 Trustee for the

 above referenced debtors (the “Debtors”) pursuant to Sections 105 and 363 of the Bankruptcy

 Code hereby files this motion (“Motion”) for entry of an order for authority to sell certain real

 property free and clear of all liens, encumbrances, and interests. In support thereof, the Trustee

 respectfully states as follows:

                                           JURISDICTION

        1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),

 (N), and (O).

        2.       Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

        3.       The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal

 Rules of Bankruptcy Procedure 2002 and 6004.

                                           BACKGROUND

        4.       On October 15, 2016, Debtors commenced this case by filing a voluntary petition

 for relief under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

        5.       Paul H. Spaeth is the duly appointed and qualified Chapter 7 Trustee

                 The Trustee held and concluded the 341 meeting of creditors on December 14,

        2016.

        6.       Debtors scheduled a 100% ownership interest in the real property located at 332

 Kling Drive, Dayton, OH 45419 (the “Property”) and legally described as follows:



                                                                                                 2
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                  SITUATE IN THE CITY OF DAYTON, COUNTY OF MONTGOMERY, STATE OF OHIO AND
                  BEING LOT NUMBERED SIXTY THOUSAND EIGHT HUNDRED EIGHTY-ONE (60881) OF THE
                  CONSECUTIVE NUMBERS OF LOTS ON THE REVISED PLAT OF SAID CITY. BE THE SAME
                  MORE OR LESS, BUT SUBJECT TO ALL LEGAL HIGHWAYS.

                  TAX ID: R72 13803 0025

           7.      Debtors scheduled the Property as having a value of $98,000 but is subject to a

 first mortgage lien (the “Senior Mortgage”) in favor of US Bank Home Mortgage in an amount

 exceeding $84,000. In addition, there also is a Second Mortgage in favor of US Department of

 HUD for which there is a balance of approximately $34,000. There also is a third mortgage in

 favor of Ohio Homeowners Assistance LLC with a balance of approximately $8,000.00. The

 creditors holding such first, second, and third mortgages are referenced herein collectively as

 “Secured Creditors”.


           8.     The Trustee, after reviewing certain materials, including (without limitation) the

 BK Score™1, sales analysis report and opinion of value for the Property provided by BK Global

 (“BKRES”) and Listing Agent, has entered into a Contract to Purchase (attached hereto and

 incorporated herein as Exhibit “A”) with Rehab to Rent, Inc. (“Purchaser”) to sell the Property for

 the sum of Eighty Two Thousand Dollars ($82,000.00). A copy of a Contract to Purchase and

 related Addendum is attached hereto and incorporated herein as Exhibit “A”.

           9.     The sale of the Property is proposed to be free and clear of the lien of the Secured

 Creditors, whose liens shall attach to the proceeds of sale. Pursuant to agreements that the

 Trustee has reached with the Secured Creditors, such Secured Creditor have agreed to be paid net

 proceeds in the following amounts, as set forth in Exhibit “B” attached hereto and incorporated

 herein:

           U.S. Bank Home Mortgage:                                    $40,166.85

           Secretary of Housing and Urban Development:                 $34,219.91


 1
   The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
 attributes in order to consistently measure sales confidence and predict market value.
                                                                                                              3
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        Ohio Homeowner Assistance, LLC                $ 1,500.00

        10.      Purchaser has agreed to pay a Buyer’s Premium equal to Five Thousand Dollars

 ($5,000.00) for the benefit of the bankruptcy estate, and Secured Creditors have agreed to such

 payment being distributed to the estate (administrative expenses and unsecured creditors). The

 Buyer’s Premium is in addition to the sale price of $82,000.00.

        11.     By this Motion, the Trustee requests authority for payment of realtor’s

 commissions totaling 6% as described below plus ordinary closing costs, which Secured Creditor

 U.S. Bank Home Mortgage has agreed may be paid pursuant to 11 U.S.C. §506(a) as a carve out.

 The realtor’s commission will be split 2% each as between Seller’s agent (Tracey Bitonti and

 Irongate Realtors), Buyer’s Agent, and BK Global.

        12.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall

 be authorized to make such disbursements on or after the closing of the sale as are required by

 the purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

 property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

 respect to the real property included among the purchased assets; and (b) other anticipated

 closing costs (estimated below):

        Total Sales/Brokers Commission:
        2% to Irongate Inc., Realtors                                         $1640.00
        2% to Michelle McBride                                                $1640.00
        2% to BK Global Real Estate Services                                  $1640.00
        Title Charges:                                                        $ 950.00
        US Bank Home Mortgage
                                                                              $40,166.85
        Secretary of HUD                                                      $34,219.91
        Ohio Homeowner Assistance, LLC                                        $ 1,500.00

 The Trustee hereby requests that, without further order of the court, the Trustee is authorized to

 pay closing costs in amounts different than the estimated amounts described above so long as they

 are within industry standard and with the consent of the lienholder, Secured Creditors and home

 owners association, if applicable.

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         13.      In addition, Secured Creditors have agreed to release the their mortgages upo

 receipt of payment as described herein and otherwise waive all of its claims against the estate

 with respect to the Property (including any deficiency claims resulting from the proposed sale).

         14.    Secured Creditor U.S. Bank Home Mortgage, the holder of the first mortgage, also

 has agreed to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with the proposed

 sale, including the payment of a 6% real estate brokerage commission to BKRES and Listing Agent

 and reimbursement of their out-of-pocket expenses as itemized above. The real estate brokerage

 commission, as described in the Chapter 7 Trustee’s Application to Retain BK Global Real Estate

 Services and Tracey Bitonti and Irongate Realtors Inc. to Procure Consented Public Sale Pursuant

 to 11 U.S.C. §§327, 328 and 330 (Doc. 15), approved per Order of April 4, 2017 (Doc. 28)

 contemplates that the commission will be shared equally between BKRES and Listing Agent.

       15.      Secured Creditors have represented and warranted that they possess valid,

 perfected, enforceable and unavoidable mortgage liens on the Property by virtue of promissory

 notes and mortgages, consisting of principal and Interest (the “Secured Creditor Indebtedness”).

                                        RELIEF REQUESTED

        16.     The Trustee requests the entry of an order pursuant to Section 363 of the

 Bankruptcy Code approving the sale of the Property, using the services of BKRES and Listing

 Agent, free and clear of all liens, claims, encumbrances, and interests. As a material inducement

 to the Trustee’s decision to pursue the proposed sale, Secured Creditors consent to the Property’s

 sale and the creation of a carve-out fund (the “Carve-Out Fund”) as described above that will

 provide for the sale-related costs as described above to be paid. As noted above, Purchaser has

 agreed to pay Five Thousand Dollars ($5,000.00), in addition to the sale price described above, as

 a Buyer’s Premium to the estate that will be for the benefit of the estate (administrative expenses



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 and unsecured creditors’ claims).



                                          BASIS FOR RELIEF

                A.      The Sale of the Property Should Be Approved

        17.     The Trustee seeks the Court’s authority to sell the Property free and clear of all

 liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without

 representations or warranties of any type, express or implied, being given by the Trustee and his

 professionals, pursuant to the Sale procedures described below.

        18.     Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after notice and

 hearing, may use, sell, or lease property of the Debtor’s estate other than in the ordinary course of

 business. The Court should approve the sale if the Trustee can demonstrate a sound business

 justification for the sale and if the sale process is fair, open, and reasonable. See Official Comm.

 Of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.),

 973 F.2d 141, 143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr.

 S.D. Fla. 2008). Further, Bankruptcy Rule 6004(f) contemplates sales outside of the ordinary

 course of business.

        19.     The Trustee, through the services of BKRES and Listing Agent, have listed the

 property and accepted the offer described herein that has been approved by the Secured Creditor

 and the payment of the Buyer’s Premium of Five Thousand Dollars ($5,000.00) will benefit the

 estate and its unsecured creditors.

        20.     Accordingly, the Trustee submits that the sale of the Property pursuant to the above

 process is reasonable under Section 363(b) of the Bankruptcy Code.


        B.      The Sale of the Property Should Be Approved Free and Clear of All
                      Interests

        21.     Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may sell property

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 free and clear of any interest in such property in an entity other than the estate if (1) permitted

 under applicable non-bankruptcy law; (2) the party asserting such interest consents; (3) the interest

 is a lien and the purchase price at which the property is to be sold is greater than the aggregate

 value of all liens on the property; (4) the interest is the subject of a bona fide dispute; or (5) the

 party asserting the interest could be compelled, in a legal or equitable proceeding, to accept a

 money satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3

 (2d Cir. 2005) (“Section 363 permits sales of assets free and clear of claims and interests . . . It

 thus allows purchasers . . . to acquire assets [from a debtor] without any accompanying

 liabilities.”); see also In re MMH Auto. Group, LLC, 385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).

            22.      The Trustee states that he shall satisfy Section 363(f)(2) of the Bankruptcy Code

 because Secured Creditors have consented to a sale of the property under Section 363(f)(2) of the

 Bankruptcy Code, free and clear of all liens, claims, encumbrances, and interests.

            23.    The Trustee requests that any creditor (other than Secured Creditors) asserting an

 interest or secured claim against the Property, after proper notice is given, be required to timely

 assert and substantiate the basis for such asserted interest or secured claim, by filing and serving

 responsive papers no later than 21 days from the filing and service of the instant Motion, or the

 Court will authorize the sale of the Property free and clear of any such asserted interest or security

 interest, with such claims, at best, being treated as a general unsecured claim.2 Failure to object

 after proper notice and opportunity to object is deemed consent. See BAC Home Loans Servicing

 LP v. Grassi, 2011 WL 6096509 (1st Cir. BAP Nov. 21, 2011); Citicorp Homeowners Servs., Inc.

 v. Elliott, 94 B.R. 343 (E.D. Pa. 1988); In re Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985);

 Futuresourse LLC v. Reuters Ltd., 312 F.3d 281 (7th Cir.); In re Harbour E. Dev., Ltd.,

 2012WL1851015, at *12 (Bankr. S.D. Fla., May 21, 2012).

            24.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks


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     The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
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 authority to sell the Property free and clear of all liens, claims, encumbrances, and interests but

 otherwise “As-Is, Where-Is” and without representations or warranties of any type given by the

 Trustee or his professionals. Notwithstanding that the Trustee will seek authority to execute all

 documents and instruments he deems reasonable, necessary and/or desirable to close the sale, the

 only documents that the Trustee shall be required to deliver to close shall be (a) a Trustee’s Deed,

 (b) a copy of the Final Sale Order, (c) such other documents as may be required for closing. The

 Trustee will file a Report of Sale with the Court after conclusion of the closing.

        25.     Secured Creditors agree to pay at closing (1) all outstanding real estate taxes,

 including any prorated amounts due for the current tax year; (2) such costs as described herein.

 Any payments by the Secured Creditor as stated herein shall be subject to any and all limitations

 on the Secured Creditor’s liability for any fees and costs under applicable law.

        C.      The Sale Will Be Undertaken by the Buyer in Good Faith

        26.     Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

 in property purchased from a debtor notwithstanding that the sale conducted under section 363(b)

 was later reversed or modified on appeal.

        27.     The sale should be found to have been in good faith if the Trustee can demonstrate

 the transaction occurred at arm’s-length and without fraud or collusion. See Kabro Assocs. of West

 Islip, LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276 (2d Cir. 1997)

 (“Typically, the misconduct that would destroy a purchaser’s good faith status at a judicial sale

 involves fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to

 take grossly unfair advantage of other bidders.” (citation omitted)); see also In re Lorraine Brooke

 Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2, 2007) (holding that a

 sale was entitled to the protections of Section 363(m) of the Bankruptcy Code when it was based

 upon arm’s length bargaining and without collusion).

        28.     The Trustee asserts that the sale of the Property has utilized a competitive and

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 transparent marketplace that facilitates an arm’s-length sale without fraud or collusion.

 Accordingly, the Trustee respectfully requests that the Court find that the purchaser(s) will be

 entitled to the protections of Section 363(m) of the Bankruptcy Code.

         29.      The Trustee further states that:

                  (a)    the Trustee has determined, based upon a review of the schedules and

 information derived from the 341 meeting, that there will likely be a meaningful distribution to

 creditors based upon the understanding that the final sale price and the total dollar amount of claims

 to be filed in this case are both unknown and can only be estimated at this time; and

                  (b)    Given the information available at this time, the Trustee has made an

 educated evaluation and determined that the proposed Sale is in the best interest of the estate and

 its creditors.

         30.      The Trustee respectfully requests that this Court: (a) waive the 14 day stay pursuant

 to Rule 6004(h), deem the sale order enforceable immediately upon entry, and authorize the

 Trustee to close on the sale immediately upon entry of the Final Sale Order; (b) authorize the

 Trustee to take all actions and execute all documents he deems reasonable, necessary and/or

 desirable to effectuate the requested relief; (c) retain sole and exclusive personal subject matter

 jurisdiction to implement, interpret and enforce the terms of the this Motion and the Final Sale

 Order; and (d) adjudicate all claims, controversies and/or disputes arising from or related to the

 proposed sale.



                                              CONCLUSION

         WHEREFORE, the Trustee respectfully requests that the Court enters an Order approving

 the short sale of the Property pursuant to Sections 105 and 363 of the Bankruptcy Code and for

 such other and further relief as this Court deems just and equitable under the circumstances of the



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 case.



                                                     /s/Paul H. Spaeth
                                                     Paul H. Spaeth, Trustee
                                                     7925 Paragon Rd., Ste. 101
                                                     Dayton, Ohio 45459
                                                     (937) 223-1655
                                                     Fax: (937) 223-1656
                                                     spaeth@phslaw.com

                                 CERTIFICATE OF SERVICE


       Service by ordinary U.S. Mail on Debtors and the creditor matrix is certified in the
 accompanying Declaration of Mailing and Certificate of Service and was completed on
 December 19, 2017.

         I hereby certify that a copy of the foregoing Chapter 7 Trustee’s Motion to Approve A
 Short Sale of Real Property Free and Clear of Liens, Claims, Encumbrances, and Interests
 Pursuant to 11 U.S.C. §363(b), (f), and (m), Surcharge Agreement and Other Relief was served
 electronically on the date of filing through the Court’s ECF System on all ECF participants
 registered in this case at the email addresses registered with the Court.


                                                     /s/Paul H. Spaeth
                                                     Paul H. Spaeth, Trustee




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